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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-112V
                                    Filed: October 31, 2017
                                        UNPUBLISHED


    JEAN LALLENSACK,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Damages Decision Based on Proffer;
    v.                                                       Influenza (Flu) Vaccine; Shoulder
                                                             Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Christine Mary Becer, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On January 25, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury caused-in-
fact by her October 23, 2014 influenza vaccination. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On August 9, 2017, a ruling on entitlement was issued, finding petitioner entitled
to compensation for SIRVA. On October 31, 2017, respondent filed a proffer on award
of compensation (“Proffer”) indicating petitioner should be awarded $85,662.50. Proffer
at 1. In the Proffer, respondent represented that petitioner agrees with the proffered
award. Based on the record as a whole, the undersigned finds that petitioner is entitled
to an award as stated in the Proffer.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $85,662.50 in the form of a check payable to
petitioner, Jean Lallensack. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
JEAN LALLENSACK,                     )
                                     )
            Petitioner,              )
                                     )  No. 17-112V
      v.                             )  Chief Special Master Dorsey
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$85,662.50 which represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $85,662.50 in the form of a check payable to petitioner.

Petitioner agrees.




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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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                                   Respectfully submitted,

                                   CHAD A. READLER
                                   Acting Assistant Attorney General

                                   C. SALVATORE D’ALESSIO
                                   Acting Director
                                   Torts Branch, Civil Division

                                   CATHARINE E. REEVES
                                   Deputy Director
                                   Torts Branch, Civil Division

                                   GABRIELLE M. FIELDING
                                   Assistant Director
                                   Torts Branch, Civil Division


                                     s/Christine Mary Becer
                                   CHRISTINE MARY BECER
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Date:    October 31, 2017




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